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                                                22-cv-01237-RGA

                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

    In re                                               Chapter 11
    Boy Scouts of America and Delaware                  Case No. 20-10343 (LSS)
    BSA, LLC,1                                          Jointly Administered
                             Debtors
    National Union Fire Insurance Co. of
    Pittsburgh, PA, et al.,                             Case No. 22-cv-01237-RGA
                             Appellants.
            v.
                                                        Jointly Consolidated2
    Boy Scouts of America and Delaware
    BSA, LLC,
                                                        On appeal from confirmation of
                             Appellees                  Debtors' Plan of Reorganization

                       APPENDIX OF APPELLANTS LUJAN CLAIMANTS

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                               Attorneys for Appellants the Lujan Claimants

Dated: November 7, 2022

1
 The Debtors in these Chapter 11 Cases, together with the last four digits of the Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.

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 Case numbers 22-cv-01237, 22-cv-01238, 22-cv-01239, 22-cv-01240, 22-cv-01241, 22-cv-01242, 22-cv-
01243,22-cv-01244, 22-cv-01245, 22-cv-01246, 22-cv-01247, 22-cv-01249, 22-cv-01250, 22-cv-01251, 22-cv-
01252,22-cv-01258, and 22-cv-01263 have been jointly consolidated under 22-cv-01237. The Lujan Claimants’
appeal is docketed at 22-cv-01258.
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                      APPENDIX OF APPELLANTS LUJAN CLAIMANTS

           Listed below are documents and excerpts of documents cited in Appellants Lujan

Claimants’ opening brief. In order to avoid needless duplication, Lujan Claimants coordinated

with other Appellants, including the Certain Insurers and the D & V Claimants, whose appendices

include documents cited by the Lujan Claimants in their opening brief and are not reproduced

herein. Lujan Claimants join in and incorporate as if fully set forth herein the Certain Insurers’

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                Lujan Claimants’ Objection to Second Modified Fifth Amended                       ALW029
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 Among the documents included in such appendices are those documents that are required to be included in the
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         Dated: November 7, 2022.                     Respectfully submitted,

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